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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                  )
CHURCH OF JESUS CHRIST OF                         )
LATTER-DAY SAINTS, et al., pro se                 )
                                                  )
                            Plaintiffs,           )
                                                  )
       v.                                         )      Civil Action No. 18-2820 (RC)
                                                  )
DONALD JOHN TRUMP                                 )
                                                  )
                            Defendant.            )
                                                  )

                                          PROPSED ORDER

       Upon consideration of Defendant’s Motion for Enlargement of Time to file a response to

Plaintiffs’ Complaint, it is hereby ORDERED that Defendant’s response shall be filed on March

20, 2019.

SO ORDERED.

Date: _____________                        ______________________________________
                                           United States District Judge
